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     Federal Defender
2    DOUGLAS BEEVERS, USVI Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    ANTONIO SANCHEZ-GAONA
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. 2:11-cr-00118-MCE
                                     )
12                  Plaintiff,       )
                                     )      STIPULATION AND ORDER TO CONTINUE
13        v.                         )      STATUS CONFERENCE
                                     )
14   ANTONIO SANCHEZ-GAONA,          )
     et al.,                         )      Date: January 12, 2012
15                                   )      Time: 9:00 a.m.
                    Defendants.      )      Judge: Hon. Morrison C. England
16                                   )
     _______________________________ )
17
18           The parties request that the status conference in this case be
19   continued from December 15, 2011, to January 12, 2012 at 9:00 a.m.       They
20   stipulate that the time between December 15, 2011 and January 12, 2012
21   should be excluded from the calculation of time under the Speedy Trial
22   Act.   The parties stipulate that the ends of justice are served by the
23   Court excluding such time, so that counsel for the defendant may have
24   reasonable time necessary for effective preparation, taking into account
25   the exercise of due diligence. 18 U.S.C §3161(h)(7)(A) and (B)(iv).
26   Specifically, counsel needs additional time to negotiate a resolution to
27   this matter and to investigate the facts of the case.
28   ///
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1    The parties stipulate and agree that the interests of justice served by
2    granting this continuance outweigh the best interests of the public and
3    the defendant in a speedy trial. 18 U.S.C. §3161(h)(7)(A) and (B)(iv).
4    Dated: December 14, 2011               Respectfully submitted,
5                                           DANIEL BRODERICK
                                            Federal Defender
6
                                            /s/ Douglas Beevers
7                                           DOUGLAS BEEVERS
                                            Assistant Federal Defender
8                                           Attorney for Defendant
                                            ANTONIO SANCHEZ-GAONA
9
     Dated: December 14, 2011               /s/Dina Santos
10                                          DINA SANTOS
                                            Attorney for Defendant
11                                          JUAN MARTINEZ-ARIAS
12   Dated: December 14, 2011               /s/ Gilbert Roque
                                            GILBERT ROQUE
13                                          Attorney for Defendant
                                            DANIEL SALINAS
14
     Dated: December 14, 2011               /s/ Carl Larson
15                                          CARL LARSON
                                            Attorney for Defendant
16                                          EDGARDO SOLORIO-CAMACHO
17
     Dated: December 14, 2011               BENJAMIN B. WAGNER
18                                          United States Attorney
19                                          /s/ Michael Anderson
                                            MICHAEL ANDERSON
20                                          Assistant United States Attorney
                                            Attorney for Plaintiff
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1                                          ORDER
2         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for December 15, 2011,
4    be   continued   to   January   12,   2012,    at   9:00   a.m.   Based   on   the
5    representation of counsel and good cause appearing therefrom, the Court
6    hereby finds that the ends of justice to be served by granting a
7    continuance outweigh the best interests of the public and the defendant
8    in a speedy trial.    It is ordered that time from the date of this Order,
9    to and including, the January 12, 2012, status conference shall be
10   excluded from computation of time within which the trial of this matter
11   must be commenced under the Speedy Trial Act pursuant to 18 U.S.C
12   §3161(h)(7)(A) and (B)(iv) and Local Code T-4.
13
     Dated: December 14, 2011
14
15                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
16
                                           UNITED STATES DISTRICT JUDGE
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